Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 1 of 79 PageID 9




                              Exhibit A
Civil Details                                                             Page 1 of 2
   Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 2 of 79 PageID 10




         Case Details - Summary

                                   Case Number:       2020CC001296
                                    View Status:      PUBLIC
                                     Case Style:      SOLIMAR ECHEVARRIA -VS-
                                                      NAVIENT SOLUTIONS LLC
                                     Case Type:       20 - CONTRACT INDEBT / AUTO
                                                      NEG /OTHER
                                    Case Status:      OPEN
                                        Divison:      COUNTY CIVIL
                                            UCN:      592020CC001296000XX
                                          Judge:      JAMES J. DEKLEVA
                                      Jury Trial:     NO
                                       File Date:     06/05/2020


         Case Parties

         Dockets

           Legend:      Viewable     Reviewed and Viewable     Viewable on Request
           Confidential
                                      Docket Code:            Filter    Clear Filter

                                     DOCKET
           DATE          NUMBER                      DESCRIPTION       PAGES       VIEW
                                     CODE

                                                     NOTICE OF
                                                     UNAVAILABILITY
           07/20/2020         5      NOTC            OBO PLTFS           2
                                                     (9/21/20 -
                                                     10/9/20)

                                                     SUMMONS
                                                     ISSUED
           06/05/2020         4      SUMI                                3
                                                     INSTITUTE
                                                     SOLUTIONS LLC

                                                     SUMMONS
                                                     ISSUED
           06/05/2020         3      SUMI                                3
                                                     NAVIENT
                                                     SOLUTIONS LLC




https://courtrecords.seminoleclerk.org/civil/civil_details.aspx?d=YNqhA%2bfkE1vpsndc3L... 8/5/2020
Civil Details                                                             Page 2 of 2
   Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 3 of 79 PageID 11




                                                 COMPLAINT                    [1-50]
           06/05/2020        2      CMPL                              66
                                                 FILED
                                                                              51-66

                                                 CIVIL COVER
           06/05/2020        1      CCST                              2
                                                 SHEET


         Hearings



                                                                                       Server:CJCWEB03
  Department Locations and Phone Numbers




https://courtrecords.seminoleclerk.org/civil/civil_details.aspx?d=YNqhA%2bfkE1vpsndc3L... 8/5/2020
Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 4 of 79 PageID 12




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 5 of 79 PageID 13




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 6 of 79 PageID 14




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 7 of 79 PageID 15




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 8 of 79 PageID 16




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 9 of 79 PageID 17




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 10 of 79 PageID 18




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 11 of 79 PageID 19




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 12 of 79 PageID 20




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 13 of 79 PageID 21




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 14 of 79 PageID 22




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 15 of 79 PageID 23




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 16 of 79 PageID 24




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 18 of 79 PageID 26




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 20 of 79 PageID 28




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 30 of 79 PageID 38




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 33 of 79 PageID 41




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 36 of 79 PageID 44




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 38 of 79 PageID 46




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 47 of 79 PageID 55




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 48 of 79 PageID 56




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 49 of 79 PageID 57




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 50 of 79 PageID 58




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 51 of 79 PageID 59




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 52 of 79 PageID 60




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 53 of 79 PageID 61




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 54 of 79 PageID 62




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 55 of 79 PageID 63




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 56 of 79 PageID 64




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 57 of 79 PageID 65




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 58 of 79 PageID 66




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 59 of 79 PageID 67




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 60 of 79 PageID 68




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 61 of 79 PageID 69




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 62 of 79 PageID 70




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 63 of 79 PageID 71




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 64 of 79 PageID 72




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 65 of 79 PageID 73




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 66 of 79 PageID 74




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 67 of 79 PageID 75




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 68 of 79 PageID 76




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 69 of 79 PageID 77




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 70 of 79 PageID 78




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 71 of 79 PageID 79




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 72 of 79 PageID 80




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 73 of 79 PageID 81




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 74 of 79 PageID 82




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 75 of 79 PageID 83




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 76 of 79 PageID 84




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 77 of 79 PageID 85




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 78 of 79 PageID 86




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Case 6:20-cv-01406-PGB-DCI Document 1-1 Filed 08/07/20 Page 79 of 79 PageID 87




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